









Dismissed and Memorandum Opinion filed August 11, 2005









Dismissed and Memorandum Opinion filed August 11,
2005.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-04-00862-CR

____________

&nbsp;

TIMOTHY WALTON
PERKINS, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
182nd District Court

Harris County,
Texas

Trial Court Cause No.
933,929

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

A written request to withdraw the notice of appeal,
personally signed by appellant, has been filed with this court.&nbsp; See Tex.
R. App. P. 42.2.&nbsp; Because this
court has not delivered an opinion, we grant appellant=s request.

Accordingly, we order the appeal dismissed.&nbsp; We direct the clerk of the court to issue the
mandate of the court immediately.

PER CURIAM

&nbsp;

Judgment rendered
and Memorandum Opinion filed August 11, 2005.

Panel consists of
Chief Justice Hedges and Justices Yates and Anderson.

Do not publish C Tex.
R. App. P. 47.2(b).&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 





